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           EXHIBIT B
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                      In re: MacBook Keyboard      Weeks v. Google LLC, No.   In re: Lenovo Adware             In re: U.S. Office Of
                       Litigation, No. 5:18-cv-    5:18- cv-00801-NC, 2019    Litigation, No. 4:15-md-         Personnel Management
                       02813-EJD-VKD (N.D.          WL 8135563 (N.D. Cal.     02624-HSG (N.D. Cal. May         Data Security Breach
                         Cal. May 25, 2023)             Dec. 13, 2019)        6, 2019)                         Litigation, No. 1:15-mc-
                                                                                                               01394-ABJ (D.D.C. Oct. 26,
                                                                                                               2022)
 Total Settlement            $50 million                 $7.25 million                $8.3 million                      $63 million
       Fund
 Number of Class      Approximately 15 million          Approximately            Approximately 797,000             360,000 (estimated)
    Members                                               800,000

 Potential Class          Group 1: 56,378                  596,361               Approximately 500,000         Approximately 3.6 million
Members to Whom
 Notice Was Sent        Groups 2-3: 692,316
Method(s) of Notice        Email, Mail,                  Email, Mail,             Email, Mail, Online          Email, Mail, Print
                             Online                        Online                                              Publication, Online, Radio,
                                                                                                               Union and Association
                                                                                                               Targeting
   Number and         Group 1: not required to          41,971 / 5.25%           112,135 valid claims /                28,154 / 7.7%
Percentage of Claim   submit claim to receive                                     approximately 14%
 Forms Submitted             payment

                        Groups 2-3: 81,683 /
                        approximately 11%

Average Recovery        Between $50 to $395                $142.76              $45 for short form claims      A minimum of $700 for valid
Per Class Member      depending on the Group to                                                                claims and up to $10,000
                       which the Class Member                                 Out-of-pocket expenses up to     with a documented loss
                               belongs                                        $750 for Class Members with      exceeding $700 depending
                                                                                documented proof of loss       on the proof submitted
    Amounts                     N/A                          N/A                $85,627.15 cy pres award       Any funds remaining in the
Distributed to Cy                                                             distributed to EPIC, a leading   settlement fund will revert to
Pres Recipients (if                                                           non-profit consumer privacy      the U.S. Treasury in 2025
       any)                                                                            organization
 Administrative       Not to exceed $1.4 million          $310,000                     $483,256.80             Paid by US Government
      Costs


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                       In re: MacBook Keyboard       Weeks v. Google LLC, No.   In re: Lenovo Adware              In re: U.S. Office Of
                        Litigation, No. 5:18-cv-     5:18- cv-00801-NC, 2019    Litigation, No. 4:15-md-          Personnel Management
                        02813-EJD-VKD (N.D.           WL 8135563 (N.D. Cal.     02624-HSG (N.D. Cal. May          Data Security Breach
                          Cal. May 25, 2023)              Dec. 13, 2019)        6, 2019)                          Litigation, No. 1:15-mc-
                                                                                                                  01394-ABJ (D.D.C. Oct. 26,
                                                                                                                  2022)
Attorneys’ Fees and    Fees: $15 million             Fees: $2.175 million       Fees: $2.49 million               Fees: $6,977,347.55
      Costs
                       Costs: $1,559,090.75          Costs: $364,855.97         Costs: $340,798.70                Costs: $133,333.06
Injunctive and Non-         Injunctive: N/A               Injunctive: N/A              Injunctive: N/A                  Injunctive: N/A
 Monetary Relief (if
        any)             Non-Monetary: Class           Non-Monetary: N/A          Non-Monetary: Defendant            Non-Monetary: N/A
                        Members remain eligible                                 Superfish, who settled prior to
                          for 4 years for Apple                                   its co-defendant, agreed to
                       program that provides for a                              provide substantial cooperation
                           new keyboard and                                               to Plaintiffs
                       replacement of other major
                               components




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